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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

    Root, Inc., et al.,                           :
                                                  :   Case No. 2:23-cv-512
                      Plaintiffs,                 :
                                                  :   Judge Sarah D. Morrison
            v.                                    :
                                                  :   Magistrate Judge Elizabeth Preston Deavers
    Silver, et al.,                               :
                                                  :
                      Defendants.                 :
                                                  :

        APPLICATION FOR ENTRY OF DEFAULT AGAINST DEFENDANT SILVER

           Plaintiffs Root, Inc., Caret Holdings, Inc., and Root Insurance Agency, LLC (“Plaintiffs”

or “Root”) request that the Clerk enter default against Defendant Brinson Caleb Silver (“Silver”)

pursuant to Federal Rule of Civil Procedure 55(a).1 Silver has failed to move or plead in response

to the Second Amended Complaint. Accordingly, an entry of default is appropriate.




1
    In accordance with Fed. R. Civ. P. 55(a), an affidavit showing Silver’s failure to plead or
    otherwise defend is attached. (Declaration of Elizabeth S. Alexander in Support of Plaintiffs’
    Motion for Entry of Default, attached as Exhibit A.)
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                                        Respectfully submitted,

                                        /s/ Elizabeth S. Alexander
                                        William D. Kloss, Jr. (0040854), Trial Attorney
                                        Tiffany S. Cobb (0067516)
                                        Elizabeth S. Alexander (0096401)
                                        Grace E. Saalman (0101603)
                                        VORYS, SATER, SEYMOUR AND PEASE LLP
                                        52 East Gay Street, P.O. Box 1008
                                        Columbus, Ohio 43216-1008
                                        Phone: (614) 464-6360 Fax: (614) 719-4807
                                        wdklossjr@vorys.com
                                        tscobb@vorys.com
                                        esalexander@vorys.com
                                        gesaalman@vorys.com

                                        Matthew L. Kutcher (IL Bar No. 6275320)
                                        COOLEY LLP Admitted Pro Hac Vice
                                        110 N. Wacker Drive Suite 4200
                                        Chicago, IL 60606
                                        Phone: (312)-881-6500 Fax: (312)-881 6598
                                        mkutcher@cooley.com

                                        Kristine A. Forderer (CA Bar No. 278754)
                                        COOLEY LLP Admitted Pro Hac Vice
                                        3 Embarcadero Center
                                        San Francisco, CA 94111
                                        Phone: (415) 693-2128
                                        kforderer@cooley.com

                                        Counsel for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing was filed electronically on

this 9th day of November, 2023 with the Clerk of Court using the CM/ECF system. Service will

be made through the Court’s CM/ECF system on all parties and attorneys so registered, and all

parties may access this filing through the Court’s system.

       A copy was also sent by regular U.S.P.S. mail and email to the following:

       Paige McDaniel
       5576 Alexanders Lake Road
       Stockbridge, GA 30281
       paigemcase25@gmail.com

       Eclipse Home Design, LLC
       Registered Agent: United States
       Corporation Agents, Inc.
       651 N. Broad Street, Suite 201
       Middletown, DE 19709

       Butler County Jail
       Attn: Brinson Caleb Silver
       Inmate #303850
       705 Hanover Street
       Hamilton, Ohio 45011

       Collateral Damage, LLC
       Registered Agent: LegalZoom.com, Inc.
       101 N. Brand Blvd., 11th Floor
       Glendale, CA 91203



                                             /s/ Elizabeth S. Alexander
                                             Elizabeth S. Alexander (0096401)

                                             Counsel for Plaintiffs
